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                 IN THE UNITED STATES DISTRICT COURT                    Clerk U.S. Olgtri
                                                                           Gree           Court
                                                                            By.
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA                                       cr)
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UNITED STATES OF AMERICA

                   V.                             1:20CR     -1

BRADLEY CARL REIFLER


                            The Grand Jury charges:

                              General Allegations

      At all times relevant to this Indictment:

                          Background on Insurance

      1.      Insurance is designed to protect consumers from financial loss

resulting from unknown future events.     Typically, a consumer pays a fixed fee

(a "premium") to an insurance company in exchange for an insurer's promise

to pay future claims arising from a defined event, as set out in a policy.        To

pay consumer claims, an insurance company may draw on premiums that it

has invested or on assets it holds.   To ensure adequate reserves to pay future

claims, North Carolina laws and regulations govern the number and quality of

the investments and assets that an insurance company must hold, including

by requiring investments in low-risk holdings such as government bonds.

      2.      An insurance company may share its risk with another company

through "reinsurance," whereby the insurance company cedes a portion of the




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premiums earned on its policies along with the risk of paying claims on those

policies to another company (the "reinsurer"). Any investments by a reinsurer

are subject to the same North Carolina laws and regulations that govern the

insurance companies themselves.

          Defendant, Relevant Individuals, and Relevant Entities

     3.      Forefront Capital Holdings was a Delaware holding company for a

group of financial-services companies (collectively, "Forefront") based in New

York. These companies included Forefront Capital Services, LLC; Forefront

Partners, LLC; Forefront Capital Holdings, LLC; and Forefront Partners Short

Term Notes, LLC.

     4.      Defendant BRADLEY CARL REIFLER, a resident of New York,

was the founder and Chief Executive Officer ("CEO") of Forefront and sole

owner of Stamford Brook Capital, LLC ("Stamford Brook"), a limited-liability

company based in New York.

     5.      Reinsurance Company 1 was a special-purpose reinsurance

company based in the Cayman Islands.         Individual A was the owner of

Reinsurance Company 1.

     6.      Life Insurance Company 1 was a life-insurance company based in

Durham, North Carolina.

     7.      Trust Entity 1 was a Nevada-chartered trust company.


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     8.      Real Estate Company 1 was a real-estate development company

based in New York, of which BRADLEY CARL REIFLER was a one-third

owner.

     9.      Real Estate Company 2 was a real estate company based in New

York that shared an office with Forefront. Real Estate Company 2 was owned

by Individual B.

     10.     Forefront Income Trust ("FIT") was a management-investment

company founded by BRADLEY CARL REIFLER.            FIT invested primarily in

unrated loans, as well as loans and debt instruments that were rated below

investment grade.

     11.     Employee A was the office manager for Forefront, reporting

directly to BRADLEY CARL REIFLER.

     12.     Employee B was a managing director at Forefront.

                    Overview of the Scheme to Defraud

     13.     On or about April 23 and 24, 2015, Reinsurance Company 1

entered into a Reinsurance Trust Agreement and a Novation Agreement,

pursuant to which Reinsurance Company 1 became the reinsurer for a block of

Life Insurance Company l's policies. Reinsurance Company 1 thereby took

control of approximately 34,194,634, which constituted the monies used to

secure the life-insurance policies ("trust assets")        Pursuant to the


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Reinsurance Trust Agreement, Reinsurance Company 1 was to deposit the

trust assets into an account with Trust Entity 1 for the benefit of Life

Insurance Company 1.

      14.    On or about April 24, 2015, Stamford Brook entered into an

Investment Advisory Agreement pursuant to which Stamford Brook was to

serve as investment advisor for the trust assets. That day, BRADLEY CARL

REIFLER signed a letter addressed to the then-CEO of Life Insurance

Company 1. The letter stated, in relevant part, "Stamford is a [sic] wholly

owned by me. To date Stamford has no business and is being used as the

investment advisor to [Reinsurance Company 1] in order to facilitate the

anticipated potential future partnership arrangement between [Reinsurance

Company 1], Forefront Capital Holdings, LLC . . ., and [Life Insurance

Company 1]."      Employee B sent this letter, over email, to Reinsurance

Company 1.

      15.    To protect the S34 million in trust assets, certain restrictions were

placed upon the uses of the trust assets; one such limitation was to restrict the

use of the 34 million to "eligible investments." Specifically, Exhibit C to the

Reinsurance Trust Agreement and Schedule B of the Investment Advisory

Agreement defined "Eligible Investments" as those "meet[ing] all the

requirements of North Carolina's General Statute 58-7-173"; "hav[ing] an


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average rating of a 2 or better based upon the ratings of the [National

Association of Insurance Commissioner]'s Security Valuation Office . . ., or

equivalent rating thereof'; and being "subject to certain concentration

limitations prescribed by the North Carolina Insurance Code," among other

requirements (collectively, the "investment requirements").

      16.   Rather than investing the trust assets in qualifying "eligible

assets," BRADLEY CARL REIFLER misappropriated the funds, using them

for improper expenses such as repaying other investors and paying overhead

expenses at Forefront, and investing them in high-risk, "junk," or self-dealing

investments that violated the investment requirements.          BRADLEY CARL

REIFLER     made     numerous    false       and   misleading   statements   and

representations, and caused others to make such statements, concerning the

true use of Life Insurance Company l's assets.

      17.   In or around 2016, the North Carolina Department of Insurance

("NCDOI") performed a routine audit of Life Insurance Company l's financials.

At that time, Life Insurance Company 1 noticed inconsistencies in materials it

received from Forefront in connection with the audit and commenced an

internal investigation of the investments.

      18.    BRADLEY CARL REIFLER, Employee A, and Employee B

provided documentation, including promissory notes, agreements, and other


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supporting documents, to Life Insurance Company 1 to establish the value and

suitability of the trust-assets investments.   Unbeknownst to Life Insurance

Company 1, the documentation provided to Life Insurance Company 1 was

fabricated and intended to create the appearance that the investments

complied with investment requirements.

      19.   As a result of BRADLEY CARL REIFLER's fraudulent scheme,

Life Insurance Company 1 was unable to recoup most of the trust assets; was

instead left with low-grade, illiquid securities in their investment portfolio;

suffered substantial financial losses; and was placed in rehabilitation.

                    Purpose of the Scheme to Defraud

      20.   The purpose of the scheme was for BRADLEY CARL REIFLER to

enrich himself, his business entities, his accomplices, and others known and

unknown to the Grand Jury by: (1) defrauding Life Insurance Company 1 of

funds through materially false and fraudulent representations and omissions

of material facts; (2) concealing his fraud through, among other means,

additional false statements and destruction of documents; and (3) diverting

trust assets to his personal use and benefit and the use and benefit of entities

he controlled.




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                         The Scheme to Defraud

        BRADLEY CARL REIFLER Misappropriated Assets and
           Diverted Assets to Impermissible Investments

      21.   The trust assets maintained by Trust Entity 1 were held in a Wells

Fargo client-funds account ending in x0378 (hereinafter, the "Trust Account").

On or about April 28, 2015, approximately $29,194,634 was transferred to the

Wells Fargo account from Reinsurance Company l's predecessor, the previous

reinsurer, which kept   5 million of the trust assets as a ceding commission.

As agreed by the parties to the Investment Advisory Agreement and the

Reinsurance Trust Agreement, Forefront was required to make up the $5

million differential as a condition of Forefront's role in investing the trust

assets. To satisfy this requirement, BRADLEY CARL REIFLER fraudulently

diverted approximately 6 million from funds that Trust Entity 1 had given to

BRADLEY CARL REIFLER for investment in Forefront Talking Capital, a

telecom receivables investment.

     22.    Prior to entering into the Investment Advisory Agreement,

BRADLEY CARL REIFLER diverted approximately            1.75 million from the

Trust Account to Real Estate Company 1 via two transfers in February and

March 2015.    Later, when discussing the diversion of the Life Insurance

Company 1 funds with a co-owner at Real Estate Company 1, BRADLEY CARL



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REIFLER acknowledged: "So the problem was. . . that I did something very

wrong in terms of that I sent money that I shouldn't have sent to [Real Estate

Company 1] so it's coming back to bite me in the ass in a number of ways."

      23.   On or about May 1, 2015, BRADLEY CARL REIFLER caused

approximately 810 million to be transferred to Forefront Partners Short Term

Notes.   From around May 2015 to around October 2015, BRADLEY CARL

REIFLER fraudulently caused to be diverted at least $1.5 million from this

account to Forefront Capital Services, a Forefront subsidiary whose primary

purpose was to pay Forefront's operating expenses.

      24.   On or about May 5, 2015, BRADLEY CARL REIFLER caused

approximately 10 million to be transferred to FIT, which was not an "eligible

investment" as defined by the investment requirements.

      25.   In January 2016, BRADLEY CARL REIFLER caused to be

transferred approximately $150,000 to the Forefront Partners account, where

the funds were booked as a loan owed to BRADLEY CARL REIFLER on the

general ledger.

      26.   As a result of BRADLEY CARL REIFLER's fraudulent scheme,

Life Insurance Company 1 recouped only a portion of the approximately $34

million that it entrusted to Forefront. Due to its inability to pay out on claims

by beneficiaries, Life Insurance Company 1 was placed in rehabilitation.


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     BRADLEY CARL REIFLER Concealed His Misappropriation

      27.    On or about June 26, 2015, Employee A sent Individual A an

account statement that reflected a list of six investments, including

investments of 10 million in FIT and 10 million in Forefront Partners, LLC

("Forefront Partners").

      28.    Individual A informed BRADLEY CARL REIFLER that the

investments listed on the June 2015 account statements did not meet the

standards for "Eligible Investments" as defined in the Investment Advisory

Agreement because, among other things, the investments violated the

Agreement's requirements regarding limits on the amount of funds that could

be placed in any one investment; were in entities affiliated with BRADLEY

CARL REIFLER and Forefront; and constituted impermissible equity

investments. BRADLEY CARL REIFLER, and others acting at his direction,

falsely represented to Individual A that Forefront would take steps to bring

Forefront's investments into compliance with the Investment Advisory

Agreement.

      29.    On or about October 14, 2015, Employee A sent Individual A an

updated statement, copying BRADLEY CARL REIFLER and Employee B.

The statement no longer listed an investment in either FIT or Forefront

Partners, instead listing numerous smaller investments. In truth and in fact,


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as BRADLEY CARL REIFLER then and there well knew, the statement

transmitted to Individual A was fraudulent; the investments had yet to be

replaced with assets consistent with investment requirements.

      30.   In or around the first quarter of 2016, the NCDOI commenced a

routine audit of Life Insurance Company l's 2015 financials that uncovered

irregularities underlying the purported investments made by BRADLEY

CARL REIFLER. As a result of these findings, in or around June 2016, Life

Insurance Company 1 commenced a detailed audit of the investments of the

trust assets.

      31.   To assuage Life Insurance Company l's concerns regarding the

compliance of the investments of trust assets with the investment

requirements, BRADLEY CARL REIFLER emailed or caused to be emailed

false and fraudulent supporting documentation, including valuations,

promissory notes, and agreements, to Reinsurance Company 1 and Life

Insurance Company 1.

      32.   In truth and in fact, as BRADLEY CARL REIFLER then and there

well knew, many of the materials submitted to Reinsurance Company 1 and

Life Insurance Company 1 were forged.      The fraudulent paperwork often

contained signature pages from genuine agreements that the counterparties

had entered into with Forefront or FIT that were fraudulently altered.   For


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example, many of the notes provided to Life Insurance Company 1 listed

limited-liability companies ("LLCs") purportedly owned by Individual B.

These notes contained pledge agreements between the LLCs and the

"[Reinsurance Company 1] [Life Insurance Company 1] Reassurance Trust."

In truth and in fact, as BRADLEY CARL REIFLER then and there well knew,

many of these LLCs did not exist, and, while Individual B had entered into

agreements with Forefront-related entities such as Forefront Partners and

FIT, he had not entered into a contract with the "[Reinsurance Company 1]

[Life Insurance Company 1] Reassurance Trust."

     33.   By in or around August 2016, Life Insurance Company 1 sought to

liquidate the trust-asset investments.   On or about August 23, 2016, Life

Insurance Company l's CEO contacted BRADLEY CARL REIFLER and

Employee B to request details on past-due loans. BRADLEY CARL REIFLER

attempted to divert blame to Reinsurance Company 1, responding that Life

Insurance Company 1 should "contact. . . [Reinsurance Company 1] for these

details" and that "[Reinsurance Company 1] has all the details on all the

investments."

     34.   BRADLEY CARL REIFLER falsely claimed that he had not served

as investment advisor of the trust assets. On or about September 1, 2016,

BRADLEY CARL REIFLER caused a letter to be sent to Life Insurance

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Company 1 insisting that "[t]he investment advisory agreement purportedly

entered into between [Reinsurance Company 1] and Stamford Brook was never

executed.   Any document that purports to show a signature on Stamford

Brook's behalf if   [sic] a forgery . . . . It is and always has been a dormant

company that never operated in any capacity."

      35.   On or about September 10, 2016, BRADLEY CARL REIFLER filed

a complaint with the Federal Bureau of Investigation Internet Crime

Complaint Center. The complaint stated, in relevant part, "My firm invested

in [Reinsurance Company 1] so they could acquire the portfolio . .

[Individual A] did not follow the North Carolina Statutes and in an effort to

cover his mistakes presented a false portfolio and created documents that

made Forefront liable for all of [Reinsurance Company 1]'s actions."

      36.   On or about September 23, 2016, Life Insurance Company 1 filed

a civil suit in the United States District Court for the Middle District of North

Carolina against Stamford Brook, Forefront, Reinsurance Company 1, Trust

Entity 1, BRADLEY CARL REIFLER, and Employee B, alleging, among other

things, a fraudulent scheme that misused the trust assets in violation of the

Reinsurance Trust Agreement and the Investment Advisory Agreement.

      37.   On or about October 26, 2016, in connection with the Life

Insurance Company 1 civil suit, BRADLEY CARL REIFLER filed a sworn


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declaration stating, in relevant part, that trust-assets investments were

"introduced by Forefront Partners and approved by [Individual A] at

[Reinsurance Company 1]" and 101 of the [Life Insurance Company 1] Funds

were invested in debt instruments with varying maturity dates." These sworn

statements were false, as BRADLEY CARL REIFLER then and there well

knew, and concealed the diversion of trust assets to pay prior Forefront

investors and Forefront operating expenses.

BRADLEY CARL REIFLER Destroyed Evidence of His Involvement in
            the Investment Advisory Agreement

      38.   By in or around September 2016, BRADLEY CARL REIFLER

sought to destroy evidence of his involvement in the Investment Advisory

Agreement, sending a text message to a Forefront IT employee that stated, "I

would like all deletes to be permanently deleted."

      39.   On or about January 20, 2017, BRADLEY CARL REIFLER filed a

voluntary petition for bankruptcy under Chapter 7 in the United States

Bankruptcy Court for the Southern District of New York.   On or about May 1,

2017, Life Insurance Company 1 filed an adversary proceeding opposing the

dischargeability of BRADLEY CARL REIFLER's debts.

      40.   On or about December 28, 2017, the bankruptcy judge ordered that

BRADLEY CARL REIFLER produce electronic evidence to Life Insurance



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Company 1 and provide access to his electronic devices to a third-party vendor

hired by Life Insurance Company 1.

      41.   In or around December 2017, BRADLEY CARL REIFLER again

sought to destroy evidence of the Investment Advisory Agreement, searching

how to delete emails and text messages; deleting electronic folders related to

Life Insurance Company 1 and the Investment Advisory Agreement; and again

telling the Forefront IT employee, over text message, that he "want[ed] to

delete all emails from 2016 onHback."

                    COUNTS ONE THROUGH FOUR
                  (18 U.S.C. §§ 1343 and 2 — Wire Fraud)

      42.   Paragraphs 1 through 41 of this Indictment are realleged and

incorporated by reference as though fully set forth herein.

      43.   From at least in or around 2014 through at least in or around 2017,

in the Middle District of North Carolina and elsewhere, BRADLEY CARL

REIFLER, aided and abetted by others known and unknown to the Grand

Jury, on or about the dates specified as to each count below, did knowingly,

willfully, and with the intent to defraud, having devised and intending to

devise a scheme and artifice to defraud, and to obtain money and property by

means of materially false and fraudulent pretenses, representations, and

promises, knowing such pretenses, representations, and promises were false



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and fraudulent when made, transmit and cause to be transmitted, by means of

wire communications in interstate commerce, writings, signals, pictures, and

sounds, for the purpose of executing such scheme and artifice.

             Purpose of the Scheme and Artifice to Defraud

      44.   The Grand Jury realleges and incorporates by reference paragraph

20 of this Indictment as though fully set forth herein as a description of the

purpose of the scheme and artifice.

                   The Scheme and Artifice to Defraud

      45.   The   Grand    Jury   realleges    and incorporates by    reference

paragraphs 13 through 19 of this Indictment as though fully set forth herein

as a description of the scheme and artifice.

                              Use of the Wires

      46.   On the dates specified as to each count below, BRADLEY CARL

REIFLER, in the Middle District of North Carolina and elsewhere, for the

purpose of executing the aforesaid scheme and artifice to defraud, and

attempting to do so, did knowingly transmit and cause to be transmitted, by

means of wire, radio, and television communication, writings, signals, pictures,

and sounds in interstate and foreign commerce for the purposes of executing

such scheme and artifice, as set forth below:




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              Approximate
  Count                               Description of Interstate Wire
                 Date
                              Email from Employee A, copying REIFLER,
                              from outside the Middle District of North
               August 12,     Carolina to Life Insurance Company 1 CEO
    1
                 2016         and internal auditor within the Middle District
                              of North Carolina attaching a fraudulent pledge
                              agreement.
                              Email from Individual A from outside the
                              Middle District of North Carolina to Life
               August 18,
    2                         Insurance Company 1 CEO and internal
                 2016
                              auditor forwarding fraudulent documents that
                              he received from Employee A.
                              Email from REIFLER from outside the Middle
                              District of North Carolina to Life Insurance
                              Company 1 CEO within the Middle District of
               August 23,     North Carolina. In response to questions
    3
                 2016         about the assets underlying the trust
                              agreement, REIFLER stated, "[Reinsurance
                              Company 1] has all the details on all the
                              investments."
                              Email from REIFLER from outside the Middle
                              District of North Carolina to Life Insurance
                              Company 1 CEO within the Middle District of
               August 24,
    4                         North Carolina. REIFLER stated, "Forefront
                 2016
                              and its related entities is not the advisor to
                              Port Royal and the only relationship has been
                              to introduce opportunities."

        Each in violation of Title 18, United States Code, Sections 1343 and 2.

                                 COUNT FIVE
                    (18 U.S.C. § 1621 - Perjury Generally)

        47.   Paragraphs 1 through 41 of this Indictment are realleged and

incorporated by reference as though fully set forth herein.

        48.   On or about October 26, 2016, in the Middle District of North


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Carolina and elsewhere, BRADLEY CARL REIFLER, in a declaration under

penalty of perjury filed with the U.S. District Court for the Middle District of

North Carolina, did willfully subscribe as true a material matter that he did

not believe to be true, that is, the statements set out in paragraph 37, to wit,

that all of the Life Insurance Company 1's funds had been invested when, in

fact, a portion of the funds had been diverted for use by BRADLEY CARL

REIFLER and Forefront.

      In violation of Title 18, United States Code, Section 1621.

                       FORFEITURE ALLEGATION

      49.   The allegations contained in this Indictment are hereby realleged

and incorporated by reference for the purpose of alleging forfeiture pursuant

to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c).

      50.   Upon conviction of one or more of the offenses charged in Counts

One through Four of this Indictment, the defendant, BRADLEY CARL

REIFLER, shall forfeit to the United States any property, real or personal,

which constitutes or is derived from proceeds traceable to such offense.




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      51.   The property to be forfeited may include the following a money

judgment in an amount to be determined, representing the value of the

property subject to forfeiture as a result of each such offense.

      52.   If any of the property described above as being subject to forfeiture

as a result of any act or omission of the defendants cannot be located upon the

exercise of due diligence, has been transferred or sold to or deposited with a

third person, has been placed beyond the jurisdiction of the Court, has been

substantially diminished in value, or has been commingled with other property

which cannot be divided without difficulty, it is the intent of the United States,

pursuant to Title 21, United States Code, Section 853(p), as incorporated by

Title 18, United States Code, Section 982(b)(1), and Title 28, United States

Code, Section 2461(c), to seek forfeiture of any other property of said

defendants up to the value of the above forfeitable property.




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      All pursuant to Title 18, United States Code, Section 981(a)(1)(C), Rule

32.2, Federal Rules of Criminal Procedure, and Title 28, United States Code,

Section 2461(c).

                                   DATED:     November 30, 2020

                                   MATTHEW G. T. MARTIN
                                   United States Attorney

                                              cr,:a     .      5 6r-ip
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A TRJ    BILL:


FOREPERSON




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